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 4

 5   Attorney for Defendant RUBEN PAUL CHAVEZ III

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 8
                                       UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11
       UNITED STATES OF AMERICA,                       No. 1:22-CR-00163-JLT-SKO
12
                          Plaintiff,
13                                                 MOTION TO TERMINATE CJA
              v.                                   APPOINTMENT OF MAI SHAWWA AS
14                                                 ATTORNEY OF RECORD AND [PROPOSED
       RUBEN PAUL CHAVEZ III,                      ORDER]
15
                          Defendant.
16

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18

19           On June 9, 2022, Defendant Ruben Paul Chavez III was indicted on federal charges. CJA

20   Panel Attorney Mai Shawwa was appointed as trial counsel to represent Mr. Ruben Paul Chavez

21   III on June 24, 2022 in his criminal case. Mr. Chavez was sentenced pursuant to a plea agreement

22   on March 6, 2023. The time for filing a direct appeal was March 20, 2023. No direct appeal was

23   filed. Mr. Chavez was in custody at sentencing to the Bureau of Prisons as directed on March 6,

24   2023. The trial phase of Mr. Chavez’s criminal case has, therefore, come to an end. Having

25   completed his representation of Mr. Chavez, CJA attorney Mai Shawwa now moves to terminate

26   her appointment under the Criminal Justice Act.

27           Should Mr. Chavez require further legal assistance he has been advised to contact the

28   Office of the Federal Defender for the Eastern District of California by mail at 2300 Tulare Street,
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 1   Suite 330, Fresno, CA 93721, or by phone at (559) 487-5561 (collect) or (855) 656-4360 (toll-

 2   free), which, if appropriate, will arrange for the re-appointment of counsel to assist him/her.

 3   Dated: March 27, 2023                                  Respectfully submitted,

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 5                                                          /s/ Mai Shawwa
                                                            Mai Shawwa, Attorney for
 6                                                          Defendant, Ruben Paul Chavez III
 7
                                           [PROPOSED] ORDER
 8

 9           Having reviewed the notice and found that attorney Mai Shawwa has completed the

10   services for which she was appointed, the Court hereby grants attorney Mai Shawwa’s request for

11   leave to withdraw as defense counsel in this matter. Should Defendant seek further legal

12   assistance, Defendant is advised to contact the Office of the Federal Defender for the Eastern

13   District of California at 2300 Tulare Street, Suite 330, Fresno, CA 93721. The phone number for

14   the office is (559) 487-5561 (collect) or (855) 656-4360 (toll-free). If appropriate, the office will

15   arrange for the reappointment of counsel to assist Defendant.

16           The Clerk of Court is directed to serve a copy of this order on Defendant Ruben Paul

17   Chavez III at the following address and to update the docket to reflect Defendant’s pro se status

18   and contact information.

19   RUBEN PAUL CHAVEZ III
20   Booking # 2220283
     P.O. Box 872
21   Fresno, CA 93712

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23   IT IS SO ORDERED

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25   Dated: May 15, 2024
                                                            UNITED STATES DISTRICT JUDGE
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